Case 1:21-cv-00800-CPO-AMD Document 70 Filed 11/19/21 Page 1 of 1 PagelD: 2913

 

ATTORNEYS AT LAW

Piease reply te:

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IWitfinebare, NJ O8O46
Teh 856-128-5700
Frans 888-387-0199
November 16, 2021
VIA ECF & USPS. PRIORITY MAI
Hon, Renée Marie Bumb, U.S.D.).
United States District Court
District of New Jersey Camden
Mitchell H, Cohen Building & U.S. Courthouse
48 Cooper Streets, Room 1050
Camden, New Jersey 08101

 

RE: = Affinity Healthcare Group Voorhees, LLC, et al. v. Voorhees ‘Twp.,, et al.
Civil Action Nou: 1:21-cv-00800-RMB-AMB
Our File No. 16805

Dear Judge Bumb:

Please be advised that I represent Plaintiffs Affinity Healthcare Group Voorhees, LLC and
Dr. Kenneth Brown in the matter referenced above. Pending before Your Honor are Defendants
Voorhees Township Planning Board and Voorhees Township Zoning Board’s Mouons for Summary
Judgment, currently returnable on December 6, 2021,

 

Defendants’ motions are extensive and reference exhibits, which total 450 pages. 1 am
therefore requesting a one-cyele adjournment to December 20, 2021, which will allow me sufficient
time to review the motions, discuss them with my clients, and file an opposition on or before
December 6, 2021. 1 have obtatned the consent of J. Brooks DiDonato, lsg., who has entered an
appearance on behalf of all Defendants in this matter, to adjourn the motions. [ have requested but
have not received a reply from Christopher J. Norman, [sq., who filed the aforementioned mouons
on behalf of the Defendant Boards,

Thank you for ee eration of this request.
SO ORDERED

 
   

 

     

   

SRjr/inn

ce: J}. Brooks DiDonato, Lisq. (oa FCT ¢ Li-Maih)
John C. Gillespic, Esq. (a HiCT e> E-Maif
Stuart Platt, Esq. (a RCT @> 1-Maih
Christopher Norman, lisq. (wa (CT e [-Maih
Plaintiffs Gia L!-Mead/ ouly)

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